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                  UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF TEXAS
                      FORT WORTH DIVISION

   CHAMBER OF COMMERCE OF THE
   UNITED STATES OF AMERICA, ET AL.,

        Plaintiffs,

   v.                                                No. 4:24-cv-00213-P

   CONSUMER FINANCIAL PROTECTION
   BUREAU, ET AL.,

        Defendants.
                                   ORDER
      Before the Court is Plaintiffs’ Motion for Expedited Consideration of
   Plaintiffs’ Preliminary Injunction Motion. ECF No. 47. After a review of
   the Motion, docket, and appropriate case law, the Court determines, for
   the reasons explained below, that the Motion should be and hereby is
   DENIED.

      While the Court appreciates Plaintiffs’ efforts to educate the Court
   on what they believe the Court does and does not need, the undersigned
   Judge has been a federal district Judge for almost five years and a judge
   generally for nearly a decade. See ECF No. 48 at 12 (“The Court need
   not be troubled by venue in this Division under Section 1404(a)”). Based
   on experience, the Court has found that it can determine what briefing
   it may or may not need.

      Plaintiffs explain that Defendants have not addressed certain public-
   and private- interest factors relevant to the Court’s venue analysis. See
   id. at 12–14. (“Defendants have identified no witnesses or physical
   evidence . . . Defendants have identified no need for compulsory process
   . . . Defendants can make no showing”). This is the very reason the Court
   ordered briefing on this issue, to be able to ascertain from the arguments
   made by both Parties, whether venue is appropriate. See ECF No. 45.
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      The Court understands the urgency with which Plaintiffs feel their
   case needs to proceed. However, the Northern District of Texas has one
   of the busiest dockets in the country. According to the Federal Court
                   UNITED
   Management Statistics     STATES by
                           maintained  DISTRICT    COURT Office of the
                                          the Administrative
              FOR
   United States    THE for
                  Courts, NORTHERN      DISTRICT
                             the 12-month            OF TEXAS
                                           period ending on December 30,
                          FORTofWORTH
   2023, the Northern District            DIVISION
                                  Texas saw  7,012 filings (584 filings per
   judgeship). As of December 30, there were 473 pending cases per
    REGINALEA KEMP,
   judgeship. For comparison, in the District of Columbia, there were a
   total of 4,467 filings (298 filings per judgeship) and 427 pending cases
       Plaintiff,
   per judgeship. If one focuses on the Fort Worth division in particular,
    v. figures are even more stark. Although Fort Worth
   these                                          No. 4:23-cv-00841-P
                                                        is the thirteenth
   largest city in the United States with a population quickly approaching
    REGIONS
   one million,B  ANK
                 the      AL., division has only two active district judges.
                       ETWorth
                     Fort
   That is the same number as the divisions in Tyler (population
          Defendants.
   approximately 108,000) and Beaumont (population approximately
                                     ORDER
   112,000) within the Eastern District of Texas. Given these statistics, the
        Before the Court is Plaintiff’s Unopposed Motion for Leave to File
   Court does not have the luxury to give increased attention to certain
    Second Amended Complaint. ECF No. 18. Having considered the Motion
   cases just because a party to the case thinks their case is more important
    and applicable docket entries, the Court GRANTS the Motion.
   than the rest.1 There are simply too many cases that demand the Court’s
        SO ORDERED on this 18th day of September 2023.
   full attention.

      For these reasons, Plaintiffs’ Motion for Expedited Consideration is
   DENIED.

      SO ORDERED on this 20th day of March 2024.


                            ______________________________________________
                            Mark T. Pittman
                            UNITED STATED DISTRICT JUDGE




      1
          “The good judge takes equal pains with every case no matter how humble;
   he knows that important cases and unimportant cases do not exist, for injustice
   is not one of those posions which, though harmful when taken in large doses,
   yet when taken in small does may produce a salutary effect, Injustice is a
   dangerous poison even in doses of homeopathic proportions.” Judge Piero
   Calamandrei quoted in HANDBOOK FOR JUDGES 158 (Donald K Carroll ed.)

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